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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  ALEXANDER NUNEZ,

               Plaintiff,

  v.                                       Case No. 8:21-cv-366-TPB-CPT

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC,

              Defendant.
  ______________________________/

                    FAST-TRACK SCHEDULING ORDER

        Pursuant to Federal Rule of Civil Procedure 16, the Court finds it

  necessary to implement a schedule tailored to meet the particular

  circumstances of this case, which was brought under the Telephone Consumer

  Protection Act, the Fair Debt Collection Practices Act, the Junk Fax Prevention

  Act, and/or state law consumer protection statutes. Therefore, consistent with

  the just, speedy and inexpensive administration of justice, Fed. R. Civ. P. 1, it

  is:

        ORDERED that the provisions of Rule 26(a)(1) and Local Rule 3.02

  concerning the initial disclosures and filing of a Case Management Report are

  hereby waived in this case. Instead, the parties shall comply with the following

  schedule:




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        1.   No later than APRIL 18, 2021, the parties shall serve upon each

  other but not file with the Court copies of the following:

        A.     Plaintiff 1

        All documents in Plaintiff’s possession, custody, or control that relate to

  the telephone calls, letters, or other debt collection activities in question. This

  includes, but is not limited to:

               (1)    Telephone records, call logs, voice recordings, and account

  notations pertaining to any telephone calls Plaintiff contends were made by

  Defendant;

               (2)    Documents and/or other relevant evidence demonstrating

  that Plaintiff was in possession of the operative telephone at the time of the

  telephone calls in question;

               (3)    Documents and/or other relevant evidence showing that (a)

  Plaintiff did not provide Defendant with consent to make the telephone calls

  in question and/or (b) documentation that Plaintiff revoked consent prior to

  Defendant making the telephone calls;

               (4)    Any and all documents and/or other relevant evidence

  pertaining to Plaintiff’s prior complaints to Defendant regarding Defendant

  making the unwanted telephone calls in question; and



  1  If there is more than one plaintiff or defendant, the singular reference to
  plaintiff or defendant shall include the plural.


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                (5)    All written correspondence, including court documents,

  pertaining to Defendant's alleged debt collection efforts.

         Upon furnishing the information to Defendant, Plaintiff shall file a

  Certificate of Compliance with the Court.

         B.     Defendant

         All documents in Defendant’s possession, custody, or control that relate

  to the telephone calls letters, or other debt collection activities in question. This

  includes, but is not limited to:

                (1)    Telephone     records,   call logs, and voice       recordings

  pertaining to the telephone calls Plaintiff contends were made by Defendant,

  which includes any and all notations made by Defendant's representative or

  employee during the telephone call;

                (2)    Documentation that Plaintiff consented to Defendant

  making the telephone calls in question;

                (3)    Any and all documents and/or other relevant evidence

  pertaining to Plaintiff’s prior complaints to Defendant regarding Defendant

  making the unwanted telephone calls in question; and

                (4)    All written correspondence, including court documents,

  pertaining to Defendant's alleged debt collection efforts.

         Upon furnishing the information to Plaintiff, Defendant shall file a

  Certificate of Compliance with the Court.




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         2.   Until further order of this Court, all discovery is STAYED, except

  as necessary to obtain and provide the information set forth in Paragraph 1.

  The Court permits counsel to serve subpoenas on telecommunications entities

  so that accurate information may be gathered in this case. If the parties elect

  to serve subpoenas for telephone records in this case, they should do so as early

  as practicable and should work together to facilitate the process. Although the

  filing of discovery is prohibited by the Local Rules, in the instance that a

  subpoena is issued to a telecommunications entity, that subpoena must be filed

  with the Court so that the Court may monitor the facilitation of information in

  this case. The parties are also directed to notify the Court when the

  information requested in the subpoena is furnished.

         3.      On or before MAY 8, 2021, Plaintiff is directed to file Answers to

  the Court’s Interrogatories. Thereafter, by MAY 23, 2021, Defendant is

  directed to file Answers to the Court’s Interrogatories. Those Interrogatories

  are attached to this Order.

         4.      This action is referred to mediation and shall be conducted as

  outlined in this Order and Chapter Four of the Local Rules. This action is hereby

  referred to Gregory P. Holder, Esq., for mediation.

         5.      Scheduling Mediation: The parties must mediate no later than

  JUNE 2, 2021. However, the parties are not permitted to mediate until




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  the information exchange outlined in this Order, including answers to

  interrogatories, has been completed.

        6.     Rescheduling Mediation: If the mediation date is approaching,

  and the parties realize they will not be able to complete the document exchange

  and interrogatory answers called for herein, the parties are directed to file a

  motion to reschedule the mediation. In any event, once the mediation has

  been scheduled, the parties may not unilaterally reschedule the

  mediation conference—a motion must be filed, and leave of Court

  obtained, if they seek to reschedule the mediation. In the motion to

  reschedule, counsel must include the proposed date of rescheduling; the Court

  reserves the right to deny any motion that seeks to reschedule the mediation

  conference for a date beyond the deadline set in Paragraph 5. If the Court

  authorizes the parties to reschedule the mediation conference, the parties may

  still be required to pay the mediator’s cancellation fee. Thus, the parties are

  strongly   encouraged    to   promptly   exchange    documents     and   answer

  interrogatories, as required herein, and to diligently adhere to all deadlines to

  avoid unnecessary expense.

        7.     Cancelling Mediation: Once the mediation conference is set,

  neither party may cancel the mediation without first obtaining leave

  of Court, even if the parties have reached a settlement.




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        8.     Designation and Responsibility of Lead Counsel: Jason Kobal,

  Esq., is designated as Lead Counsel and must consult both the mediator and

  other counsel to coordinate the day and time of the mediation. By MARCH 18,

  2021, Lead Counsel must file a notice of mediation that states the agreed day

  and time of mediation. When the notice is filed, the agreed day for the

  mediation replaces the deadline in Paragraph (c). Extension of the mediation

  deadline requires a Court order and is increasingly disfavored as the mediation

  deadline approaches. Before moving for an extension of the mediation deadline,

  the movant must consult both the mediator and opposing counsel to determine

  an agreed day and time for the rescheduled mediation. Under Local Rule

  3.01(g), a motion for an extension of the mediation deadline must certify that

  the movant has conferred with opposing counsel and must state whether

  counsel agrees to the resolution of the motion.

        9.     General Rules Governing the Mediation: Although mediation is

  governed by Chapter Four of the Local Rules, the following additional

  requirements apply:

               (a)   Case Summary: At least five business days before the

               scheduled mediation, each party must email directly to the

               mediator and to opposing counsel a brief written summary of the

               facts and issues of the action. The mediator and the parties must




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              treat each summary as a confidential communication and must

              not disclose the summary or the summary’s content.

              (b)   Authority of the Mediator: The mediator may confer

              privately with any counsel, an individual party, a corporate or

              municipal representative, or a claims professional for any proper

              purpose in the mediator’s discretion. The mediation must

              continue until adjourned by the mediator. No participant may

              compel the early conclusion of a mediation because of travel or

              another engagement. Only the mediator may declare an impasse

              or end the mediation. To coordinate the mediation, the mediator

              may set an abbreviated scheduling conference before the

              mediation.

              (c)   Attendance: The Court directs that all counsel, parties,

              corporate representatives, and any other required claims

              professionals shall be present at the mediation conference with

              full authority to negotiate a settlement. Absent exigent

              circumstances and leave of Court, lead counsel must

              appear at the mediation conference; failure to comply will

              result in the imposition of sanctions. The Court does not

              allow mediation by telephone or video conference.       Personal

              attendance is required. See Local Rule 4.03(d).




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               (d) For cases in which statutory attorneys’ fees may be claimed,

               counsel should be prepared to discuss reasonable attorneys’ fees

               and should have that information in hand at the mediation

               conference.

        10.    Compensation of the Mediator: The parties must compensate the

  mediator at the mediator’s prevailing hourly rate, which, unless otherwise

  agreed by counsel, the parties must bear equally and pay immediately after

  the mediation. The parties must comply with the reasonable cancellation policy

  established by the Mediator, which states:

        When a case is cancelled or rescheduled with less than fourteen
        (14) days’ notice, [the Mediator] will bill all sides equally for the
        Minimum Charge for the time reserved unless the parties have
        agreed otherwise. Time of notice is computed as under Rule 6,
        Fed. R. Civ. P. [The Mediator does] not waive
        cancellation/rescheduling charges unless [the Mediator is] able to
        book another case in the reserved time slot. Cancellation or
        rescheduling should be confirmed in writing (email or fax is
        sufficient) to all parties. Please inform [the Mediator]
        immediately of any motion which may result in the re-scheduling
        of the mediation, or of any negotiation which might make the
        mediation unnecessary.

        11.    Results of Mediation: Lead Counsel must file a notice informing

  the Court of the results of the mediation conference within twenty-four hours

  from the conclusion of the mediation conference.

        12.    Case Management Report and Additional Information: In the

  event mediation does not result in settlement of this action, the parties must

  conduct a case management meeting immediately after the mediation


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  conference, during which the parties shall jointly prepare the attached fast-

  track case management report. The parties shall file the completed fast-track

  case management report within twenty-four hours of the conclusion of the

  mediation conference. In addition, the parties shall file a separate notice also

  within twenty-four hours of the conclusion of the mediation conference

  informing the Court of the legal issues they believe will need to be resolved at

  the summary judgment stage and/or the factual matters they believe will be

  at issue during trial.

        13.    After review of the parties’ fast-track case management report,

  the Court will determine if a Case Management Hearing is required. If a Case

  Management Hearing is required, the Court will conduct such hearing

  approximately one week after the parties’ mediation conference. The Court

  will enter a notice indicating the date and time of the hearing. Counsel are

  advised that this case will be set for trial approximately 90-120 days after

  the mediation conference. At the Case Management Hearing, this Court

  will address any scheduling conflicts the parties may have.

        14.    Absent compelling circumstances and leave of Court, lead counsel

  must appear in person at the Case Management Hearing. Lead Counsel must

  be prepared to discuss the claims and defenses as well as any unique aspects

  of the case with the Court. This hearing is an investment of the Court’s time

  and presents an opportunity for counsel to meet the judge presiding over their




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  case, as well as present any issues that should be called to the Court’s

  attention.

        DONE and ORDERED in Chambers, in Tampa, Florida on this 2nd

  day of March, 2021.




                                        TOM BARBER
                                        UNITED STATES DISTRICT JUDGE




  Attachments:
  Court’s Interrogatories
  Magistrate Judge Consent Form
  CMR form for Fast-Track Cases




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                COURT’S INTERROGATORIES TO PLAINTIFF

  (1) What kind of communications are at issue in this case? Telephone calls

  placed to a land line, or to a cellular phone? Letters mailed to a residence?

  Facsimile transmissions? Please be as specific as possible.

  (2) How many calls, letters, or other communications are at issue? For

  instance, if you allege telephone calls were placed in violation of the TCPA,

  how many calls were placed?

  (3)   When did the communications at issue take place?

  (4)   If telephone calls are at issue, do you allege that Defendant used an

  automatic dialer?

  (5) If telephone calls are at issue, do you allege that Defendant utilized a live

  person or a recorded voice to transmit the relevant information?

  (6) If telephone calls are at issue, do you allege that the calls were placed to a

  telephone that is registered in your name? If not, to whom is the account

  registered?

  (7) Do you have a prior business relationship with Defendant?




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  (8) Did you sign any document in which you consented to be contacted by

  Defendant?

  (9) Do you intend to pursue a class action?




                            _________________________________
                                  (Plaintiff’s Signature)

  STATE OF FLORIDA
  COUNTY OF __________________

         BEFORE ME, the undersigned authority, on this day, personally
  appeared ________________________________, who being first duly sworn, and
  ____ who is personally known to me or ____ who produced _________ as
  identification, deposes and says that he/she has read the foregoing Answers
  to Interrogatories, knows the contents of same, and to the best of his/her
  knowledge and belief, the same are true and correct.

        SWORN TO AND SUBSCRIBED before me on this _______ day
  of_______, 20___.


                                   NOTARY PUBLIC

                                   ______________________________
                                   Signature of Person
                                   Taking Acknowledgment

  Notary Stamp                           Print Name:
                                         Title: Notary Public
                                         Serial No. (if any):
                                         Commission Expires:




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               COURT’S INTERROGATORIES TO DEFENDANT

  (1) How many telephone calls, letters or other mailings, or facsimiles do your

  records show as being made or sent during the time period alleged by Plaintiff?

  (2) If telephone calls are at issue, were the calls made by an automatic dialer?

  (3) If telephone calls are at issue, was a prerecorded voice used?

  (4) Did you ever receive documented prior consent to contact Plaintiff?

  (5)    Did you ever receive documented revocation of a consent to contact

  Plaintiff?

  (6) Before the Complaint was filed, were you ever placed on notice that Plaintiff

  had retained counsel with respect to the debt alleged to be at issue in the

  Complaint?

  (7) What is your capacity with respect to the debt alleged to be at issue in the

  Complaint? For example, are you the owner of a note, a servicer, or both?




                            _________________________________
                                  (Defendant’s Signature)




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  STATE OF FLORIDA
  COUNTY OF __________________

         BEFORE ME, the undersigned authority, on this day, personally
  appeared ________________________________, who being first duly sworn, and
  ____ who is personally known to me or ____ who produced _________ as
  identification, deposes and says that he/she has read the foregoing Answers
  to Interrogatories, knows the contents of same, and to the best of his/her
  knowledge and belief, the same are true and correct.

        SWORN TO AND SUBSCRIBED before me on this _______ day
  of_______, 20___.



                                  NOTARY PUBLIC

                                 ______________________________
                                 Signature of Person
                                 Taking Acknowledgment

  Notary Stamp                         Print Name:
                                       Title: Notary Public
                                       Serial No. (if any):
                                       Commission Expires:




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AO 85 (Rev. locally 5/99) Notice, Consent, and Order of Reference B Exercise of Jurisdiction by a United States Magistrate Judge

                                                  UNITED STATES DISTRICT COURT
                                                       Middle District of Florida

_____________________________________,

Plaintiff(s)

v.                                                                                Case Number: ____________________________

_____________________________________,

Defendant(s)

         NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE TO EXERCISE JURISDICTION

       In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, you are hereby notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings in this case, including a jury or bench trial, and to
order the entry of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is, however, permitted only if all parties voluntarily
consent, as evidenced by execution of the Consent portion hereof, all together on this form, to the exercise of jurisdiction by a United
States Magistrate Judge.

      You may, without adverse substantive consequences, withhold your consent; but this will prevent the Court's jurisdiction from being
exercised by a Magistrate Judge. If any party withholds consent, the identity of the parties consenting or withholding consent will not be
communicated to any Magistrate Judge or to the District Judge to whom the case has been assigned.

      Appeal from a judgment entered by a Magistrate Judge shall be taken directly to the United States Court of Appeals for the Eleventh
Circuit, in the same manner as an appeal from any other judgment of this District Court.

               CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

     In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties in this case hereby voluntarily consent to
have a United States Magistrate Judge conduct any and all further proceedings in the case, including the trial; order the entry of a final
judgment; and conduct all post-judgment proceedings, as necessary.

Signatures                                       Parties Represented                                                     Date Signed
____________________________             ____________________________________________                            ____________________

____________________________             ____________________________________________                            ____________________

____________________________             ____________________________________________                            ____________________

                                                         ORDER OF REFERENCE

IT IS HEREBY ORDERED that this case be referred to Honorable, __________________________________, United States
Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73,
and the foregoing consent of the parties.

_____________________                                                   ______________________________________________
Date                                                                    THOMAS P. BARBER, United States District Judge

NOTE: RETURN THIS FORM TO CLERK OF COURT ONLY IF ALL PARTIES HAVE SIGNED ON
THIS FORM CONSENTING TO EXERCISE OF JURISDICTION BY A MAGISTRATE JUDGE.




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                                 United States District Court
                                  Middle District of Florida
                                      Tampa Division
  __________________________________,
  Plaintiff(s),

  v.                                                         Case No. ______________________________

  __________________________________,
  Defendant(s).
  ______________________________________________/

                                           CASE MANAGEMENT REPORT

                                     TO BE USED FOR THE FOLLOWING CASES:
                                        FAIR LABOR STANDARDS ACT (FLSA);
                                 TITLE III AMERICANS WITH DISABILITIES ACT (ADA);
                                 FAIR DEBT COLLECTION PRACTICES ACT (FDCPA);
                                 TELEPHONE CONSUMER PROTECTION ACT (TCPA);
                             FLORIDA CONSUMER COLLECTION PRACTICES ACT (FCCPA);
                             REAL ESTATE SETTLEMENT PROCEDURES ACT (RESPA); AND
                                        FAIR CREDIT REPORTING ACT (FCRA).

          The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ. P. 26(f)

  and Local Rule 3.02(d):

                                     DEADLINE OR EVENT
                                                                                                    AGREED DATE
   Certificate of Interested Persons and Corporate Disclosure Statement

   Mandatory Initial Disclosures

   Discovery Deadline

   Dispositive Motions

   Meeting In Person to Prepare Joint Final Pretrial Statement

   Joint Final Pretrial Statement
   [Including a Single Set of Jointly-Proposed Jury Instructions and Verdict Form, Voir Dire
   Questions, Witness Lists, & Exhibit Lists with Objections on Approved Form (to be e-mailed
   in Word format to chambers flmd barber@flmd.uscourts.gov)]
   Final Pretrial Conference
   [The Court will set a date]
   Trial Term Begins
   [Trial term must be 5 weeks after dispositive motions deadline (unless filing of such
   motions is waived); district judge trial terms begin on the first Monday of each month; trials
   before magistrate judges will be set on a date certain after consultation with the parties]
   [90-120 days after mediation conference]
   Estimated Length of Trial
   [Number of trial days]

   Jury / Non-Jury




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